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     Designated Counsel for Service
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3    Mission Viejo, California 92692
     Telephone: (714) 375-0628
4
5    Attorney for Defendant
     KEITH BROTEMARKLE
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. CR-S-08-0116 FCD
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER BETWEEN
13        v.                         )       UNITED STATES AND KEITH
                                     )       BROTEMARKLE
14   KEITH BROTEMARKLE,              )
                                     )
15                  Defendant.       )
     _______________________________ )
16
17         Defendant Keith Brotemarkle and Plaintiff, by and through their
18   counsels of record, hereby agree and stipulate as follows:
19         Travel of defendant Keith Brotemarkle is, during the pendency of
20   this matter, restricted.
21         Said restrictions are expanded to include travel to and from the
22   District of Maryland, District of New Jersey, and the District of
23   Delaware.
24         Defendant’s travel to and from these additional Districts are
25   limited to that which is necessary for employment related purposes.
26   Defendant will advise his pre-trial services officer of the need to
27   travel to these additional districts before traveling.
28   ///
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1    IT IS SO STIPULATED.
2    Dated: June 14, 2010                      LAWRENCE G. BROWN
                                               Acting United States Attorney
3
4
5
                                         By:    /s/ Ellen V. Endrizzi
6                                              S. ROBERT TICE-RASKIN
                                               ELLEN V. ENDRIZZI
7                                              Assistant U.S. Attorneys
8
9    Dated: June 14, 2010                By:    /s/ Robert G. Gazley
                                               ROBERT G. GAZLEY
10                                             Counsel for Defendant
11
12
13
14
15         IT IS SO FOUND AND ORDERED.
16
17   Dated: June 21, 2009                  /s/ Gregory G. Hollows
                                   ______________________________
18
                                               United States Magistrate
19
     brotemarkle.ord
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     Travel Restriction Modification/BROTEMARKLE2
